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                                   STATEMENT OF FACTS

       Your affiant, Patrick Ramone, is a Task Force Officer (TFO) assigned to the Baltimore
Field Office/Wilmington Resident Agency National Security Squad. In my duties as a TFO, I
conduct investigations relating to domestic and international terrorism, and other national security
matters. Currently, I am tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. As a TFO, I am authorized by law or by a Government agency to
engage in or supervise the prevention, detection, investigation, or prosecution of a violation of
Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however, around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m., members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.




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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On or about December 2020, FBI was made aware by the University of Delaware Police
Department of a TikTok post by former University of Delaware student, Nicholas John Lattanzi
(herein referred to as LATTANZI). The TikTok page has an account name of “@benshapiro.v2,”
and the post contained a selfie photo of LATTANZI wearing a camouflage jacket with the caption:
“New jacket who wants to commit war crimes in Bosnia with me?”
                .




                                              Figure 1




                                                 2
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       Since becoming aware of this TikTok post, your affiant has monitored the public
@benshapiro.v2 TikTok page. As explained below, LATTANZI has confirmed that he is the user
of the @benshapiro.v2 TikTok page.

        On or about January 6, 2021, at approximately 10:58 a.m., your affiant checked the
@benshapiro.v2 TikTok page. The page contained a post with an image from a dark road with the
text “DC BOUND,” followed by several emojis and the caption: “Anyone else gonna be at the
rally tomorrow?” Your affiant took a screenshot of this post, which is depicted in Figure 2, below.




                                             Figure 2
        On or about January 6, 2021, at approximately 10:45 p.m., your affiant checked the
@benshapiro.v2 TikTok page and observed a post with a selfie of LATTANZI wearing a brown
cowboy hat, a gold Burger King paper crown around his cowboy hat, a brown jacket, a blue and
red plaid shirt, and a white flag with black lettering tied around his shoulders like a cape. The
caption for the post states: “Met up with the BOOOOYYYYYSSSS,” and tagged the following
users: “@paleotrad1776,” “@punishedwurzelroot,” and “@cliffbooth223.” Your affiant took a
screenshot of this post, which is depicted in Figure 3, below.


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                                            Figure 3


       On or about January 6, 2021, at approximately 10:46 p.m., your affiant checked the TikTok
page for “@punishedwurzelroot,” which was one of the accounts tagged by LATTANZI in Figure
3, above. The @punishedwurzelroot TikTok page contained a post depicting a group of men,
including a man resembling LATTANZI, at what appears to be the “Stop the Steal” rally in
Washington, D.C. on January 6, 2021. The caption for the post contains several hashtags,
including “#trump,” “#capitolhill,” “#capitol,” “#capitolbuilding,” and “#stopthesteal.”
LATTANZI, identified with a red arrow below, can be seen wearing the same clothing and
accessories that he is seen wearing in Figure 3—namely, a cowboy hat with a gold paper crown
around it, a brown jacket, a blue and red plaid shirt, and a white flag with black lettering tied
around his shoulders like a cape.



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                                            Figure 4


        At approximately 11:07 p.m. on January 6, 2021, your affiant took a screenshot of a second
post on the “@punishedwurzelroot” TikTok page, which depicts a group of men walking towards
the United States Capitol Building. See Figure 5, below. LATTANZI, identified with a red arrow
on the far right of Figure 5, can be seen wearing the same clothing he is seen wearing in Figure 3
(LATTANZI’s post to the @benshapiro.v2 page), including a brown cowboy hat and a brown
jacket. LATTANZI is also holding a white flag with black lettering, which resembles the white
and black flag that he was seen wearing around his shoulders like a cape in Figure 3, above.



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                                             Figure 5


        On or about April 5, 2021, your affiant interviewed LATTANZI in person at his residence
in Millsboro, Delaware. During the interview, your affiant showed LATTANZI the screenshots
from the @punishedwurzelroot TikTok account. LATTANZI confirmed to your affiant that he is
the individual identified by the red arrow in Figures 4 and 5, above, and that the photographs were
taken in Washington, D.C. on January 6, 2021. LATTANZI further claimed that he only knew the
other subjects in Figures 4 and 5 from TikTok, and only by their TikTok usernames. LATTANZI
declined to comment on how the group organized to meet. LATTANZI also informed your affiant
that he does not have TikTok anymore because he gave up his @benshapiro.v2 account for Lent.


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       During the in-person interview on April 5, 2021, LATTANZI told your affiant the
following details about his travel to Washington D.C. on January 6, 2021:

    •   LATTANZI traveled to Washington D.C. on the morning of January 6, 2021 and stayed
        there for one day. LATTANZI stated that his intent in traveling to Washington D.C. was
        to “support my President.”

    •   LATTANZI claimed that he did not bring any items with him to the rally, such as weapons,
        shields, or restraints.

    •   LATTANZI disclaimed having any role in any violence, trespassing, vandalism, or any
        other criminal activity at the Capitol on January 6, 2021.

    •   LATTANZI claimed that he did not receive any guidance or direction from other
        individuals to participate in the January 6, 2021 riot.

    •   LATTANZI disclaimed any affiliation with any specific group who attended the January
        6, 2021 riot.

    •    LATTANZI said the U.S. Capitol building was targeted because “We were betrayed by
        the people who represent us.” LATTANZI also stated that he thought the event turned
        violent because “Mike Pence and Republicans turning on us.”

    •   LATTANZI claimed that he did not enter the U.S. Capitol Building.

    •   LATTANZI claimed that he did not know how or why certain areas or individuals inside
        the Capitol were targeted by the rioters.

    On or about April 6, 2021, your affiant was contacted via email by an individual claiming to
represent LATTANZI. LATTANZI’s counsel indicated that LATTANZI wished to amend the
statement he made to FBI on April 5, 2021.

    On April 21, 2021, your affiant interviewed LATTANZI in the presence of his counsel at the
FBI Dover Resident Agency. During the interview LATTANZI provided the following
information:

    •   LATTANZI left his residence on the evening of January 5, 2021. LATTANZI stayed the
        night at his friend Person-1’s house, 1 and left the following morning for Washington D.C.

1
         On October 21, 2021, your affiant interviewed Person-1 by phone. Person-1 told your
affiant that LATTANZI arrived at Person-1’s residence on the evening of January 5, 2021, and left
the morning of January 6, 2021. Person-1 did not attend the rally with LATTANZI due to Person-
1’s work obligations. Person-1’s residence is approximately thirty minutes from Washington, D.C.
LATTANZI returned to Person-1’s residence on the evening of January 6, 2021, at approximately
6:00 p.m. Person-1 greeted LATTANZI by giving him a hug. When Person-1 hugged
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   •   LATTANZI entered the U.S. Capitol Building at approximately 3:20 p.m. through an
       already open door that had a broken window.

   •   Before entering the U.S. Capitol Building, LATTANZI did not observe any “No
       Trespassing” signs, fencing, or police officers instructing people not to enter the building.

   •   While inside the U.S. Capitol Building, LATTANZI did not observe police officers
       pushing people to get out, nor did he observe rioters attacking police officers.

   •   At approximately 3:23 p.m., LATTANZI encountered a uniformed law enforcement
       officer who instructed him to leave the building. As LATTANZI stated, “The officer told
       me to exit, and I did.”

   •   LATTANZI claimed that he did not steal any items from the U.S. Capitol Building or
       participate in any violence or vandalism.

   •   LATTANZI exited the U.S. Capitol Building through the same door he entered.
       LATTANZI then walked around the U.S. Capitol Building and joined a large crowd outside
       the building for approximately one hour. LATTANZI left when police with riot shields
       began spraying mace into the crowd.

   •   LATTANZI claimed that he did not have any physical contact with police officers on
       January 6, 2021.

   •   During the interview, your affiant showed LATTANZI the below screenshot from the
       @benshapiro.v2 TikTok account. The screenshot shows a white flag with black lettering
       and a green tree, as well as some dark spots on the flag. LATTANZI identified the flag as
       his and explained that the dark spots on the flag were blood and mace.




LATTANZI, Person-1 could smell pepper spray on LATTANZI, and Person-1’s eyes began to
burn.
        According to Person-1, LATTANZI described the rally as being “nuts.” LATTANZI
admitted to Person-1 that he entered the U.S. Capitol Building but did not go far inside.
LATTANZI also told Person-1 that LATTANZI was hit with batons, pushed by shields, and
sprayed with pepper spray upon exiting the U.S. Capitol Building. According to Person-1,
LATTANZI stated that the blood on the flag he was carrying was from someone else and was not
his. According to Person-1, LATTANZI did not say anything about assaulting or fighting with
police.
        Person-1 and LATTANZI went to a Chinese restaurant the evening of January 6, 2021 and,
according to Person-1, they “were hanging out and having a good time.”

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                                       Figure 6

•   At the time of the April 21, 2021 interview, LATTANZI still had pictures on his phone
    from the inside of the U.S. Capitol Building. LATTANZI provided your affiant with some
    of these images, which are depicted below in Figures 7-11.




                       Figure 7                        Figure 8

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          Figure 9                          Figure 10




                            Figure 11



                               10
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    U.S. Capitol Police Surveillance Footage of LATTANZI Inside the U.S. Capitol Building

       In addition to reviewing photos from LATTANZI’s cell phone, your affiant has also
reviewed U.S. Capitol Police surveillance footage from January 6, 2021. The surveillance footage
shows LATTANZI entering the already open Senate Wing Door on the northwest side of the
Capitol Building at or about 3:22 p.m. LATTANZI, indicated with a red arrow in Figure 12,
below, can be identified by his cowboy hat and flag. LATTANZI also appears to be wearing a
white skull print neck gaiter pulled up over his mouth and nose.

        When LATTANZI enters the Capitol Building, he is standing behind a man with shoulder-
length brown hair who is wearing a red trucker hat and a red and grey plaid shirt. This is consistent
with the photos that LATTANZI provided to FBI from his cell phone during the April 21, 2021
interview, which show LATTANZI entering the U.S. Capitol Building behind a man with
shoulder-length brown hair wearing a red trucker hat and a red and grey plaid shirt. See Figures 9
and 10, above.




                                             Figure 12


      After entering the Senate Wing Door, LATTANZI turned right and began walking south,
down a hallway, toward the Crypt. See Figure 13, below.




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                                         Figure 13
        At approximately 3:23 p.m., LATTANZI walked past a uniformed police officer. The
officer put his hand in the air, at which point LATTANZI turned around and walked back toward
the Senate Wing Door. LATTANZI’s path down and up the Capitol Building hallway is depicted
in the screenshots from USCP surveillance footage (Figures 14-16), below.




                                         Figure 14


                                             12
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                                          Figure 15




                                          Figure 16
       LATTANZI ultimately exited the U.S. Capitol Building at approximately 3:27 p.m. See
Figures 17-18, below. It appears from the surveillance footage that U.S. Capitol Police were
having rioters, including LATTANZI, exit through the broken window near the Senate Wing
Door in order to avoid congestion with subjects still streaming through the doorway.


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                            Figure 17




                            Figure 18



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       According to the USCP surveillance footage, LATTANZI spent a total of approximately
five minutes inside the U.S. Capitol Building. This is consistent with LATTANZI’s revised
statement to FBI on April 21, 2021.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
LATTANZI violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        Your affiant submits there is also probable cause to believe that LATTANZI violated 40
U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                      _________________________________
                                                      TFO Patrick J. Ramone Jr.
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 10th day of January 2022.
                                                                          G. Michael
                                                                          Harvey
                                                      ___________________________________
                                                      G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE




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